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 1                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
 2                            Norfolk Division
 3
 4   - - - - - - - - - - - - - - - - - -
                                              )
 5       R.M.S. TITANIC, INC.,                )
         SUCCESSOR IN INTEREST TO             )
 6       TITANIC VENTURES, LIMITED            )
         PARTNERSHIP,                         )
 7                                            )    CIVIL ACTION NO.
                 Plaintiff,                   )    2:93cv902
 8                                            )
         v.                                   )
 9                                            )
         THE WRECKED AND ABANDONED            )
10       VESSEL, ETC.,                        )
                                              )
11             Defendant.                     )
     - - - - - - - - - - - - - - - - - -
12
13
                          TRANSCRIPT OF PROCEEDINGS
14
                               Norfolk, Virginia
15
                               December 17, 2018
16
17
     BEFORE:    THE HONORABLE REBECCA BEACH SMITH
18              United States District Judge
19
20   APPEARANCES:
21               KALEO LEGAL
                 By: Brian A. Wainger
22                         And
                 McGUIRE WOODS LLP
23               By: Robert W. McFarland
                      Counsel for R.M.S. Titanic
24
25




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 1
     APPEARANCES CONTINUED:
 2
 3               UNITED STATES ATTORNEY'S OFFICE
                 By: Kent Porter
 4                    Assistant United States Attorney
                      Counsel for Amicus United States
 5
                 THE NATIONAL OCEANIC AND ATMOSPHERIC ADMINISTRATION
 6               By: Jackie Rolleri
                      Counsel for NOAA
 7
 8               GREENBERG TRAURIG LLP
                 By: David G. Barger
 9                    Counsel for PAHL
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 1              (Hearing commenced at 2:07 p.m.)
 2              THE CLERK:    In case 2:93cv902, R.M.S. Titanic,
 3   Inc., et cetera, versus The Wrecked and Abandoned Vessel, et
 4   cetera.
 5              Mr. McFarland, Mr. Wainger, is the plaintiff ready
 6   to proceed?
 7              MR. McFARLAND:    Good afternoon, Your Honor.
 8   Plaintiff is ready.
 9              THE COURT:    Good afternoon.
10              THE CLERK:    Mr. Barger, is Intervenor Premier
11   Acquisitions Holdings, LLC, ready to proceed?
12              MR. BARGER:    We are.   Good afternoon, Your Honor.
13              THE COURT:    Good afternoon, Mr. Barger.
14              THE CLERK:    Mr. Porter, is amicus United States of
15   America ready to proceed?
16              MR. PORTER:    We are.   Good afternoon, Judge Smith.
17              THE COURT:    All right.    Counsel, I will briefly
18   review where we are so that we can proceed on the
19   outstanding matters before the Court in an appropriate
20   order.    Just to summarize for now, on November 16th, 2018,
21   Premier Acquisition Holdings, LLC, PAHL, filed a proposed
22   order and a declaration of Gilbert Li.         That was ECF number
23   527.
24              The proposed order, which is the proposed order to
25   approve the Asset Purchase Agreement, was attached as




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 1   Exhibit A, and the declaration of Mr. Li was attached as
 2   Exhibit B.
 3              On November 21, the United States as amicus, and on
 4   behalf of the National Oceanic and Atmospheric
 5   Administration, NOAA, filed a second supplemental report
 6   recommending that the Court approve R.M.S.T.'s motion to
 7   approve the Asset Purchase Agreement in accordance with
 8   PAHL's proposed order, and that was ECF number 530.
 9              On November 22nd, 2018, the museum filed an amended
10   motion to intervene.      That's ECF numbers 519 and 520.       On
11   November 26, 2018, R.M.S.T. filed a memorandum in opposition
12   ECF 532.
13              On November 30th, 2018 the museum filed a reply,
14   ECF number 533.     On November 19, 2018, this Court set a
15   hearing for today, December 17th, at 2:00 p.m. on the
16   outstanding motion to approve and the amended motion to
17   intervene.    Those are basically the filings.        There have
18   been voluminous filings, obviously, going back and forth in
19   support of those major filings that I mentioned.
20              I have made a listing of all of the documents that
21   have been filed since October 31, 2018; the document title
22   and the parties that filed it.       It's about a page and a half
23   single spaced, and it does involve thousands of documents.
24   I've also reviewed, going back into June, all of the
25   documents in regard to approval of the APA; and going back




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 1   into August, all the documents related to the motion to
 2   intervene by the museum.
 3              In any event, the listing of filings here is about
 4   five or six pages.      So if we need to get to a specific
 5   document, if you give me the ECF number, I have the document
 6   referenced by date and ECF number.        That's why I'm letting
 7   you know that, if we need to go to a document that I haven't
 8   determined to be of immediate need to the Court, unless it
 9   comes up during argument.       So if you have a document and you
10   want the Court to look at it, you do need to give me the
11   date of the filing, the ECF number, the title of the
12   document, and I'll be able to go right to it, I hope.
13              With that, if you want to make any type of
14   preliminary statement, I have reviewed all of your filings,
15   and I do have a number of questions that I will ask the
16   parties and also the amicus NOAA.        If there are any
17   preliminary statements you want to make, Mr. McFarland,
18   Mr. Wainger or Mr. Barger, you're free to do so.
19              Likewise, I would also note that Ms. Rolleri is
20   here as is Matthew Troy.       Both are here today on both of the
21   amicus.    If there is any statement you want to make
22   preliminarily, go ahead.
23              MR. McFARLAND:    Thank you, Your Honor.      May it
24   please the Court.     Your Honor, when we were last here on
25   October 25th, the Court expressed its position and certain




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 1   concerns as to the APA and the stock sale of R.M.S.T. and
 2   directed the parties to talk further and proceed in that
 3   vein if further submissions to the Court.
 4              I can say, Your Honor, that the parties took the
 5   Court's words to heart, and there were extensive meetings
 6   and conferences with R.M.S.T. and the United States and
 7   NOAA, and between, as the Court has mentioned, PAHL filed a
 8   motion to intervene on November 5th, which the Court
 9   granted, and PAHL has had extensive discussions with the
10   Court, as well.
11              We were happy to be able to submit, Your Honor, to
12   the Court, as part of PAHL'S motion on November 16th, a
13   fully endorsed order by all the parties in this action that
14   asked the Court to approve the Asset Purchase Agreement and
15   the stock sale of 100 percent of R.M.S.T.'s stock.
16   Recognizing that the Court may have some questions, happy to
17   address those.
18              But I think, Your Honor, what I guess my theme
19   would be on that sense is, we understood what the Court was
20   saying on October 25th.      I think that the order that is
21   presented, hopefully, it addresses the Court's concerns,
22   both on behalf of my client, and I won't speak for PAHL,
23   Mr. Barger, but I know, obviously, he has been involved, and
24   I think PAHL has certainly expressed its willingness to do
25   certain things that the Court wanted done.




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 1               Of course, the United States and NOAA have
 2   indicated in writing that they support the plan.
 3               THE COURT:    Mr. Wainger, is there anything you want
 4   to add?
 5               MR. WAINGER:   Nothing to add at this point, thank
 6   you, Judge.
 7               THE COURT:    Mr. Barger.
 8               MR. BARGER:    Certainly, Your Honor.     A minute or
 9   two, maybe even less.      Good afternoon, Your Honor.
10               THE COURT:    Good afternoon.
11               MR. BARGER:    Thank you for the opportunity to speak
12   with you.    Beyond the filings that the Court identified, the
13   only thing additional I would add is, we have with us today
14   Gilbert Li and Giovanni Wang who are speaking on behalf of
15   PAHL, and specifically Mr. Li works with PacBridge and --
16   I'm sorry.    I have it backwards.      Mr. Wong works with
17   PacBridge, and Mr. Li works with Alta and Apollo.           We are
18   prepared, should the Court decide it wants to go there, to
19   talk about some factual aspects of their involvement and the
20   anticipated future involvement of PAHL and some of the work
21   that they already know needs to be done should the Court
22   ultimately approve the proposed sale order.          So they are
23   here to show the Court some additional factual information
24   should the Court need to go into those areas.
25               THE COURT:    Well, while you're there.




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 1              MR. BARGER:     Yes, ma'am.
 2              THE COURT:      Is it Barger or Barjer (ph.)?
 3              MR. BARGER:     The short answer is I say Barjer
 4   (ph.).
 5              THE COURT:      The way you say it is the way it should
 6   be said, the way they you it pronounced.
 7              MR. BARGER:     If you will indulge me a second, when
 8   I was sworn in in 1989 in front of Judge Bryan, he asked me
 9   the same question exactly, and my grandfather, who died in
10   '99 always said Barger Hargie.       So Judge Bryan said, well,
11   he thought -- I usually can do the imitation, but I won't,
12   that he thought my grandfather knew best, so the entire time
13   I practiced in front of Judge Bryan, he always said
14   Mr. Barger.    But I go by Barjer (ph.), Your Honor.
15              THE COURT:      Well, I'm actually -- Judge Bryan is
16   one of my heroes, along with Judges Hoffman, Kellam,
17   McKenzie and Clarke.
18              MR. BARGER:     Absolutely, yes.
19              THE COURT:      I'm going to not please Judge Bryan and
20   I'm going to call you Mr. Barger (ph.).
21              MR. BARGER:     Thank you, Judge.
22              THE COURT:      I do have some questions for you.
23              MR. BARGER:     Sorry.   Thank you.   I thought I was
24   off the hook.     Sorry.
25              THE COURT:      I don't think so.




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 1              MR. BARGER:    No, I know.    I'm teasing.
 2              THE COURT:    I'll just start right in.      I was
 3   looking at PAHL's proposed order that is ECF Number 527-1.
 4   Paragraph 4 notes that PAHL has submitted a company
 5   resolution consent consistent with its LLC agreement that
 6   demonstrates that Mr. Li is authorized and powered and
 7   directed to file documents on behalf of PAHL consistent with
 8   the written consent, and that's at ECF number 527-1 at 2.
 9              I cannot find any resolution or consent that has
10   been submitted to the Court, and if it has, could you please
11   let me know and give me the ECF number.
12              MR. BARGER:    Yes, Your Honor.     May I retrieve my
13   notes?
14              THE COURT:    Yes.
15              MR. BARGER:    Sorry, Your Honor.     Thank you.     I do
16   have a copy.     My co-counsel, Mr. Grossman, provided me a
17   copy of the unanimous written consent.         Off the top of my
18   head, I can't tell you if it was filed with the Court.           I
19   want to say I thought it might be in Docket 514, but I don't
20   want to say that because I'm not positive.         I'm happy to
21   hand up a copy, if I can show it to Mr. Porter first.           I'm
22   sure we've already provided him a copy.
23              THE COURT:    Have you seen this resolution,
24   Mr. Porter?
25              MR. PORTER:    We have, Your Honor.     This is one of




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 1    the things that we requested that they provide to us.
 2              THE COURT:    I know that.     I realize that you
 3    requested it and the provided it to you, but when I went
 4    through this, and I've been going through these filings for
 5    a month now, and I could have overlooked it, but I did not
 6    see any resolution that you requested that ever came to the
 7    Court.
 8              MR. PORTER:    We did request it, and it did come to
 9    us.   We had a number of tracks working at the time we were
10    working on this order.      It's possible that, perhaps, I did
11    not submit it, but we did request it.        We did receive it.
12              THE COURT:    Is that the same one?
13              MR. PORTER:    Yes, it is.
14              MR. BARGER:    We can file it, Your Honor, with the
15    Court's permission.
16              THE COURT:    We will file that as PAHL Exhibit 1 for
17    purposes of this hearing and the agreement.
18              MR. BARGER:    Thank you, Your Honor, my apologies
19    that I did not submit it with the prior declarations.
20              THE COURT:    This is the unanimous written consent
21    of the members of PAHL on November 1, 2018.         So this is the
22    company resolution.     Now, my next question would be, is
23    there a resolution from each of the entities, each of the
24    LLCs authorizing that individual to be appointed for them?
25    In other words, you have PAHL that consists of three




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 1    entities.
 2                MR. BARGER:   Yes, Your Honor.
 3                THE COURT:    I can pull the clause up in the PAHL
 4    LLC agreement that requires a resolution and the consent of
 5    all members.    I can give you that if you need it.
 6                MR. BARGER:   No, I recall it.
 7                THE COURT:    So this would be the resolution from
 8    PAHL that would be called for by their LLC.         However, Apollo
 9    Credit Strategies Master Fund Limited, Alta Fundamental
10    Advisors LLC and PacBridge Partners Investment Company
11    Limited would each also have to have a resolution
12    authorizing these individuals to act on their behalf to
13    sign, and I haven't seen those resolutions.
14                MR. BARGER:   Your Honor, I haven't looked at it,
15    but I accept the Court's premise.       I don't believe we have
16    those resolutions, but we will provide those promptly.           I
17    believe the two individuals here are authorized to speak on
18    behalf of the three entities, but in addition to whatever
19    verbal statements they would make, will provide the Court
20    the necessary resolutions.
21                THE COURT:    Because under the law, in other words,
22    they may sign on behalf of their LLC, and you've got
23    something signed for PAHL, but then an LLC can't act through
24    a person for them to sign unless they have their resolution.
25                MR. BARGER:   Understood, Your Honor.     I agree.       We




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 1    will close that loop and solve that problem.
 2              THE COURT:    That was the first question I had.
 3    Madam clerk, if you would mark this PAHL Exhibit 1 for this
 4    proceeding.
 5              (The document was received in evidence as PAHL
 6    Exhibit No. 1.)
 7              MR. BARGER:    Your Honor, may I confer for just a
 8    second?
 9              THE COURT:    Yes.
10              MR. BARGER:    Thank you, Judge.     Nothing further on
11    that.
12              THE COURT:    All right.
13              MR. BARGER:    It's easy to solve that problem, and
14    we will do that.
15              THE COURT:    Now, this resolution, what does it
16    authorize Mr. Li to do, in your opinion?
17              MR. BARGER:    In my opinion, Your Honor, it
18    authorizes Mr. Li to speak on behalf of PAHL specifically
19    for purposes of signing the declaration or the declarations
20    that he has signed and filed with the Court showing the
21    Court PAHL's intention to enter into the agreement and to be
22    bound by the various provisions of the APA, the Court's
23    orders, and the proposed order that the parties have
24    submitted to the Court.      That's my interpretation of the
25    declaration that PAHL has submitted.




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 1              THE COURT:    You produced the resolution, but I want
 2    to be sure that this resolution, then, authorizes Mr. Li not
 3    only to file documents but to make representations on behalf
 4    of PAHL in this proceeding.
 5              MR. BARGER:    Yes, Your Honor.
 6              THE COURT:    I think it does.
 7              MR. BARGER:    Yes.   Sorry.
 8              THE COURT:    It was just handed up to me, but I
 9    believe that it does that.      That was a concern that I had
10    because I hadn't seen any resolution.
11              MR. BARGER:    Again, I apologize for that.       We were
12    moving fast.    I take responsibility for not getting that
13    filed to the Court.
14              THE COURT:    Let me ask you another question, Mr.
15    Badger, about the agreement.
16              MR. BARGER:    Yes, Your Honor.
17              THE COURT:    This has been a concern about the in
18    personam jurisdiction.      Reading Paragraphs B and C together
19    of the proposed order, Paragraph B says that PAHL submits,
20    "to the in personam jurisdiction of this Court for purposes
21    of ensuring R.M.S.T. complies with the Court's orders
22    relating to Titanic, including this order and the C&Cs..."
23    that would stand for the covenants and conditions.
24              MR. BARGER:    Yes, Your Honor.
25              THE COURT:    "...and to ensure PAHL's commitments




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 1    and obligations under this order."
 2              MR. BARGER:    Yes, Your Honor.
 3              THE COURT:    Paragraph C then outlines one of PAHL's
 4    commitments as follows:      "PAHL shall take no action, nor
 5    shall it refrain from taking any action, or direct or
 6    authorize R.M.S.T. to take any action or refrain from taking
 7    any action, that will result in or cause R.M.S.T.'s
 8    inability to comply fully with this Court's orders relating
 9    to Titanic, including this order and the C&Cs.          Any such
10    action by PAHL as described in this paragraph shall serve as
11    PAHL's consent to the in personam jurisdiction of this Court
12    for purposes of enforcing and adjudicating this Court's
13    orders relating to Titanic, including this order and the
14    C&Cs."   It's a lot of words.
15              MR. BARGER:    Yes.
16              THE COURT:    What I would ask you, why didn't you
17    simply submit a paragraph that says PAHL submits to the in
18    personam jurisdiction of this Court for all purposes
19    relating to this case, and then if you wanted to add
20    including but not limited to?       What are you trying to limit
21    out of this?
22              MR. BARGER:    Your Honor, I don't think we are
23    trying to limit anything out of it.        In fact, as I listened
24    to the Court read the C&C and, from my personal perspective,
25    C is a little bit superfluous because I do think B is very




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 1    broad, where we say we are subjected to in personam
 2    jurisdiction for the purposes of ensuring R.M.S.T.'s
 3    compliance and ensure PAHL's commitments and obligations
 4    under this order.     The order, of course, speaks for itself,
 5    but there are a number of provisions in the order that
 6    broadly provide jurisdiction and power to the Court and
 7    supervision by the Court.
 8              So there wasn't an intent to carve anything out to
 9    somehow limit the Court's jurisdiction, but you had a number
10    of lawyers lawyering the document, and at least from my
11    perspective -- and I was personally involved in some of that
12    or in much of that -- I don't think B should be read as
13    trying to carve something out away from the Court.
14              In fact, so B and C together, to me, generally
15    reaffirm PAHL and R.M.S.T.'s commitments.         R.M.S.T. already
16    had the commitment from the prior history of the filings,
17    but by PAHL coming in and signing the documents and agreeing
18    to this, it provides an additional protection for the
19    business, for the artifacts for the Court's jurisdiction.
20    So I don't read it as limiting, at least that's Bargeron
21    interpreting the Court order.
22              THE COURT:    Well, you were part of the drafting.
23              MR. BARGER:    Yes.
24              THE COURT:    You are the counsel representing PAHL.
25              MR. BARGER:    Yes, Your Honor.




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 1               THE COURT:    So you're representing to the Court
 2    that, to your knowledge, there is no intent or effort to
 3    limit the in personam jurisdiction of the Court over PAHL?
 4               MR. BARGER:   No, Your Honor.
 5               THE COURT:    Now, let me ask you a couple of
 6    questions about in rem jurisdictions.
 7               MR. BARGER:   I'm out of my element already, but,
 8    yes, Your Honor.
 9               THE COURT:    Well, the in rem jurisdiction of the
10    Court would be over the wreck.
11               MR. BARGER:   The res, right -- or the wreck, right,
12    correct.
13               THE COURT:    Paragraph "I" of PAHL's proposed order
14    revises a provision in NOAA's proposed order, and I want to
15    go through the revision.      My ultimate question will be why
16    was the change made?     In the provision, in NOAA's proposed
17    order that forbid R.M.S.T. and PAHL from taking any action,
18    underlines, that would remove, circumvent, or diminish the
19    Court's admiralty jurisdiction over the wreck site and
20    artifacts, and in your proposed order, that was changed to
21    only forbidding R.M.S.T. and PAHL from amending the APA or
22    their organizational documents or entering into any
23    contracts that affect or which would be to remove,
24    circumvent or diminish the Court's admiralty jurisdiction in
25    this case.




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 1               Do you know why that change was made?        I'm not
 2    saying it's a bad change.      I'm just asking.
 3               MR. BARGER:   I understand.
 4               THE COURT:    I went through and looked at all the
 5    changes.    I'm just trying to see if there is any reason.            I
 6    didn't look at it necessarily as a detrimental change.            I
 7    just was asking if you know why it was made?         Was there any
 8    specific reason that you can recall?
 9               MR. BARGER:   Your Honor, there is none that I
10    specifically recall.     I would have to get the redline
11    versions of the various documents to go back and look at
12    exactly what the proposed language was.        I can tell you
13    generally, again, as the attorney of record, in looking at
14    "I," and there were also, as I recollect, there were a
15    couple of other paragraphs where we reaffirmed essentially
16    that we weren't doing anything, when I say "we," meaning
17    PAHL, to do anything to try to circumvent or interfere with
18    or limit this Court's admiralty jurisdiction because the
19    reality is, we couldn't.      But at least I don't believe we
20    could.
21               THE COURT:    I would put that statement on the
22    record, and at least the two bankruptcy judges of this court
23    are in agreement, admiralty law clearly takes precedence
24    over bankruptcy law.     Admiralty law is international law,
25    too.   It takes precedence worldwide.       So I would tell you




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 1    that.    I'm not trying to show muscle over the bankruptcy
 2    court.   It's just a fact of jurisdiction and the law.
 3    Admiralty jurisdiction and the jurisdiction here would take
 4    precedence over any type of bankruptcy jurisdiction.
 5               MR. BARGER:   Your Honor, and I understand.       By way
 6    of fleshing this out a little bit, hypothetically there
 7    might arise something that is purely a bankruptcy court
 8    question where the parties might have to go back to the
 9    bankruptcy court.
10               THE COURT:    I think you're going to have to, but
11    I'm going to ask some bankruptcy questions of Mr. McFarland
12    and Mr. Wainger in a minute, and then you can add to them.
13    I don't know if you're a bankruptcy practitioner or if you
14    have been involved in those proceedings at all.
15               MR. BARGER:   I have not.     I practice on rare
16    occasion in bankruptcy court.       I would say my knowledge of
17    in rem is a little bit better than my knowledge of
18    bankruptcy.
19               THE COURT:    I will accept that, and for right now
20    I'm not looking at this unless NOAA, and you might want to
21    address if you've discussed that at all, Mr. Porter, because
22    this was a change to your language, whether this change is
23    creating any kind of loophole or substantive matter as
24    opposed to what NOAA suggests, because it was a change to
25    NOAA.    You can address that.     I'm going to call on you in a




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 1    moment.
 2              Next question, Mr. Barger.
 3              MR. BARGER:    Yes, Your Honor.
 4              THE COURT:    I note that, and this may be for
 5    actually R.M.S.T. because I think this was their filing.
 6    I'll give the question, and then if they have an answer,
 7    then the next time they come up, they can address it.            On
 8    November 15th, 2018, R.M.S.T. filed three exhibits:          A
 9    reserve account bank information, a safe deposit bank box
10    information, and contact information for exhibition venues.
11    Those are ECF Numbers 521, 524 and 525.        These documents
12    appear to have been filed in response to the request for
13    these in Paragraph L of NOAA's proposed order, which was
14    ECF Number 517-1.
15              However, I note that the information for the
16    exhibition venue in China is missing from Exhibit C, the
17    contact information for R.M.S.T.'s exhibit venues.          That's
18    521-3, ECF Number 521-3, according to your exhibition
19    agreement, and that is what was included in the due
20    diligence documents.     I'm going back to Exhibit G, which was
21    ECF 510-7.    That exhibition continues into 2019.
22              In other words, when you put the documents
23    together, or R.M.S. Titanic files ECF Number 521-3, and the
24    exhibition venue and information, contact information is
25    missing in that filing.      According to the exhibition




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 1    agreement that was given in response to due diligence, the
 2    due diligence document, which is 510-7, that exhibition goes
 3    into next year.     So my question would be more appropriate,
 4    Mr. Barger, for Mr. Wainger and Mr. McFarland when they get
 5    to address the Court next.
 6              MR. BARGER:    All right, Your Honor.
 7              THE COURT:    Unless there is something you want to
 8    flag on behalf of PAHL.
 9              MR. BARGER:    Yes, Your Honor.     If I could just ask
10    the Court.    I've got 521-3 in front of me, which lists the
11    certain venues, temporary venues and permanent venues.           I
12    just want to make sure I understood the Court's concern.
13    What's missing, you said something, that their contact
14    information is missing?      Sorry, Your Honor.     I just didn't
15    understand.
16              THE COURT:    They gave three exhibits:       A reserve
17    bank account, a safety deposit box bank information, and the
18    contact information for exhibit venues, and that was 521,
19    524 and 525.    They were filed in response to the request for
20    these documents from NOAA, in Paragraph L of NOAA's exhibit,
21    which is ECF Number 517-1.
22              MR. BARGER:    Yes, Your Honor.
23              THE COURT:    However, the information on exhibit
24    venue in China is missing from Exhibit C.
25              MR. BARGER:    I understand the Court's question.




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 1               THE COURT:    521-3, is that what you're looking at?
 2               MR. BARGER:   I am, and I see there is no venue
 3    listed for China.     I know Mr. Li and Mr. Wong can both
 4    identify, they can at least state their understanding of
 5    whether there is an exhibition in China and when the lease
 6    expires.    I think there is one, but it will be their
 7    understanding, and I'm confident R.M.S.T., as the debtor and
 8    their secretary, can tell the Court more accurately than I
 9    can.   It's a long way of saying you're right.
10               THE COURT:    These are just some in rem questions.
11    I'm not trying to put you on the spot because I do think
12    that Mr. McFarland, Mr. Wainger or Mr. Porter can better
13    respond to that since there were actually documents that
14    were produced basically from NOAA's due diligence.
15               MR. BARGER:   I apologize I didn't have the answer
16    for you, but I'll check.
17               THE COURT:    I may have some more questions for you
18    later as the hearing progresses, Mr. Barger, but I think
19    that that's all that I had for the moment.
20               MR. BARGER:   All right.    Thank you, Judge.
21               THE COURT:    Mr. Porter.   Let me ask you a threshold
22    question before we proceed any further, that is, NOAA has,
23    as Mr. McFarland said, signed on to the Asset Purchase
24    Agreement, and you have signed it under, it says "seen."
25               When you sign something seen, you also agree to it.




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 1    Under the law there are three ways to sign proposed orders
 2    for a Court.    It's we ask for this, we want it, another is
 3    seen and agreed, and the other is seen and objected to.
 4    Before I enter it, I would require NOAA to add to that "seen
 5    and agreed."    Are you willing to do that?
 6              MR. PORTER:    Absolutely, Your Honor.      The reason it
 7    is as it is, is because we are in position of an amicus.           I
 8    have talked to a number of people whether we even need to be
 9    on the order or not, but I wanted to be at least on the
10    orders as seen, but I can tell you, Your Honor, that myself
11    and Ms. Rolleri were actively involved in drafting this
12    order, and I have no difficulty whatsoever with an agreed.
13              THE COURT:    You're amicus because it was only the
14    Court in here for many years, and that's not a proper way to
15    proceed in a court when the United States has an interest in
16    the action.    I directed the United States Attorney to enter
17    this case a number of years ago because the Court should not
18    have to be put in the position of being an adversary or
19    advocating.
20              The Court's role is to protect the artifacts and
21    the wreck site under the admiralty jurisdiction and salvage
22    law of the United States.      I just wanted to be sure.      I know
23    the "seen" means you agree, but I'd feel better if you also
24    put "and agreed."
25              MR. PORTER:    I have no difficulty with that, Your




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 1    Honor.
 2              THE COURT:    The United States is on that order if
 3    something happens to these artifacts.
 4              MR. PORTER:    Understood, Your Honor.
 5              Your Honor, to address the two questions about some
 6    of the provisions in the order, you raised the question
 7    about the language in Paragraphs B and C.         I can certainly
 8    represent to the Court that there is no intention there to
 9    try, with Paragraph C, to carve out any provision.
10              On the contrary, in an effort to try to carve in as
11    much as possible, I wanted to make sure that it was clear
12    that it was not only affirmative action on PAHL's behalf
13    that would make it culpable, but inaction, simply standing
14    on the sidelines that if some way caused R.M.S.T. to fail to
15    comply.
16              So that was the intent of that, Your Honor,
17    certainly not to carve out but to make clear that action and
18    inaction could make PAHL culpable and ensure that PAHL is
19    before the Court personally.       That was the purpose of that
20    one.
21              The second, in the in rem provisions in Paragraph
22    "I," I would also reference the Court to Paragraph L, which
23    indicates that, "Except as expressly authorized herein,
24    nothing in this order shall be construed to alter, affect or
25    limit R.M.S.T.'s current salvor-in-possession status, this




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 1    Court's in rem jurisdiction over the Titanic wreck."
 2              Again, as Mr. Barger indicates, you have a number
 3    of lawyers working on this, and all have particular
 4    interests, and one of the reasons that "I" is worded as it
 5    is, is because the Court expressed particular concern about
 6    the APA, the Asset Purchase Agreement, and whether the Asset
 7    Purchase Agreement in some form or fashion pulled back on
 8    the Court's jurisdiction.
 9              We wanted to make absolutely sure that it did not
10    do that, or that they amended any of their documents,
11    organizational documents for that to happen.         So that's the
12    reason.
13              THE COURT:    Thank you.
14              MR. PORTER:    All right.
15              THE COURT:    Give me a moment before I bring you
16    back up here so that we can cover all the questions that I
17    might have.
18              All right, Mr. McFarland.
19              MR. McFARLAND:     Thank you, Your Honor.
20              THE COURT:    Let me start with some questions about
21    the bankruptcy court proceedings.       The bankruptcy court has
22    approved the sale subject to this Court's approval of the
23    Asset Purchase Agreement; is that correct?
24              MR. McFARLAND:     Correct, Your Honor.
25              THE COURT:    Has a plan been confirmed?




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 1              MR. McFARLAND:     Not at this point in time, Your
 2    Honor.
 3              THE COURT:    So the sale is pursuant to Section 363
 4    of the bankruptcy code?
 5              MR. McFARLAND:     I believe that's correct, Your
 6    Honor.
 7              THE COURT:    Not a Chapter 11 plan?
 8              MR. McFARLAND:     What was filed is a Chapter -- but
 9    I think the confirmation would be 363.        I believe that is
10    correct, Your Honor.     Between Mr. Barger and I, I'm not sure
11    whose bankruptcy knowledge is -- but that is correct.
12              THE COURT:    Well, that would be my reading of the
13    documents, that the bankruptcy court approved the sale, but
14    their plan has not been confirmed, so the sale would be
15    approval pursuant to Section 363 of the bankruptcy code.
16              MR. McFARLAND:     That is correct, Your Honor.
17              THE COURT:    Not a Chapter 11 plan at this juncture?
18              MR. McFARLAND:     Right.
19              THE COURT:    The next is, if for some reason this
20    sale fails to close, couldn't a plan then still be confirmed
21    by the bankruptcy court?
22              MR. McFARLAND:     I don't think what's before the
23    Court at this point could be confirmed, Your Honor.          In
24    fact, I think, as we have indicated to the Court, if the
25    sale is not approved and the stock purchase not approved, I




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 1    think we are going to be surely looking at a different
 2    bankruptcy proceeding, a Chapter 7 with a trustee directly
 3    involved.
 4                THE COURT:   But if no Chapter 11 plan has been
 5    confirmed, and the museum's plan was held in abeyance by the
 6    bankruptcy court, right?
 7                MR. McFARLAND:   I don't think the museum's plan is
 8    actually held in abeyance by the bankruptcy court.          The
 9    museum had the opportunity to participate.         They chose not
10    to.   The museum has nothing left before the bankruptcy
11    court, is my understanding.
12                THE COURT:   I'm not sure that I agree with you on
13    that from what I have read.       Are there any other plans?
14    Let's just call it held in abeyance rather than a legal
15    term, just a term of art we all know, held in abeyance not
16    acted upon.
17                Are there any other plans that have been held in
18    abeyance or not acted upon or that otherwise were presented
19    to the bankruptcy court that have been rejected?          Because I
20    don't see the museum's plan as rejected, I just saw what you
21    proposed as approved over what they proposed.
22                MR. McFARLAND:   I think, Your Honor, and I will
23    certainly defer to any of the folks who are here, I think
24    the museum put something out but they never officially put
25    it out before the bankruptcy court so that it didn't need to




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 1    be rejected.    There was only one viable plan for the
 2    bankruptcy court to approve, which it did, on October 18th
 3    of 2018.
 4                THE COURT:   They didn't approve a plan.
 5                MR. McFARLAND:   I'm sorry, one sale, approval of
 6    sale plan.
 7                THE COURT:   There has been, and I spent a lot of
 8    time looking into this, and that's why I wanted to ask the
 9    question, because what I see in the papers that have been
10    filed with the Court is the bankruptcy court approved a sale
11    subject to this Court's approval of an Asset Purchase
12    Agreement.
13                MR. McFARLAND:   Correct.
14                THE COURT:   But there's been no Chapter 11 plan
15    confirmed.    This would be a Section 363 sale under the
16    bankruptcy code.
17                MR. McFARLAND:   Yes, Your Honor.     The Court's
18    recitation is, as I understand it, correct, and we also have
19    Mr. Brooks here, bankruptcy counsel for the company, should
20    the Court have further questions in that that are beyond my
21    akin.
22                THE COURT:   I understand.    You may want to consult
23    with him.    I can take a recess.     I just want to get my
24    questions out so that if you all need to confer, you can get
25    answers, and these are just things that I want to be clear




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 1    on the record here and clear to me, as I proceed.
 2                That question that I have, if for some reason the
 3    sale fails to close, there could be any number of reasons,
 4    say the Court approved the asset purchase plan but makes
 5    some small changes to it, subject to changes.         As I
 6    understand, as I've read the documents, any closing is
 7    contingent upon my order approving the asset purchase plan
 8    being satisfactory to PAHL.
 9                MR. McFARLAND:   Right.
10                THE COURT:   I may make some small changes to it, so
11    PAHL may decide they don't like my changes, or they might
12    want to file something.      I don't know.    I'm not saying I'm
13    going to.    I'm just proposing some of these out as
14    possibilities and hypothetical questions, or however you
15    want to phrase that.
16                If for some reason, whatever reason, maybe it is
17    one little line that the Court adds into the Asset Purchase
18    Agreement and PAHL says that's a deal breaker, we are not
19    going to do this, and if for some reason the sale fails to
20    close, what I'm trying to understand is, could a plan still
21    be confirmed under the bankruptcy code under Chapter 11?
22                MR. McFARLAND:   I don't think so, Your Honor,
23    particularly at this point in time.
24                THE COURT:   I'm putting aside R.M.S.T.'s cash flow
25    problems.    I'm talking just strictly legal questions now.




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 1    But setting aside the cash flow problems, is there any legal
 2    authority that would prevent that possibility?
 3               MR. McFARLAND:    Then we would be back to a
 4    situation where looking at what other options would come
 5    forward.
 6               THE COURT:    That's why I was referring to the
 7    museum's plan because as I understand it, it was before the
 8    bankruptcy court.     They didn't proceed on it.
 9               MR. WAINGER:    Judge, if I may just on this one
10    specific point.     It was not the museum's plan, it was the
11    creditors' committee's plan, and they allowed the museum to
12    join it.    The creditors' committee was a party in interest.
13    They withdrew the plan.
14               THE COURT:    They withdrew what plan?
15               MR. WAINGER:    The plan that they had proposed, the
16    creditors' committee, they withdrew it.        They no longer
17    support that plan.      So that doesn't exist.     There is no
18    support for that plan.      It could not be passed, and so that
19    is not a reality down in Florida.
20               I understand the Court had set aside the concept of
21    cash flow, but I do think it's important to understand that
22    the cash flow situation is integral to the larger picture,
23    and that is the debtor will have to convert -- that's the
24    only option at this point should PAHL -- should the Court
25    not approve the transactions and/or should PAHL walk away




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 1    from any changes, if any, made by the Court.
 2               THE COURT:   Well, you would still have to get
 3    approval of the bankruptcy court to convert to Chapter 7,
 4    wouldn't you?
 5               MR. WAINGER:    We would have to obtain approval, but
 6    at this stage there would be no other option whatsoever
 7    given all the circumstances.       We have been struggling, and I
 8    say "we" the collective, to keep that case, our collective
 9    heads above water to try to get this taken care of.
10               THE COURT:   Basically, what you're talking about is
11    between the creditors and the debtors, there is no other
12    option?
13               MR. WAINGER:    Between all of constituents to the
14    bankruptcy, of which there are now many, there are no other
15    options.    We did ask Mr. Troy to be able to speak to that,
16    as well, should the Court seek other perspectives, and we do
17    have Mr. Brooks from Troutman Sanders who is a bankruptcy
18    expert.    So we have plenty of ammunition for the Court if we
19    want to speak further on that.
20               THE COURT:   Thank you.    Let me see if I have any
21    more questions in that area, Mr. McFarland.
22               We can go back now to the information on the venue
23    in China, the exhibition venue in China.         Why don't you
24    speak about that.
25               MR. McFARLAND:    Yes, Your Honor.     That exhibition




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 1    in China closed October 31st of 2018.        It was not a
 2    permanent exhibition.      What the government and NOAA had
 3    requested was to provide the addresses and contact
 4    information for permanent exhibitions, which we did, and
 5    then we also just -- I'm going to use this term -- for belt
 6    and suspenders, which I think also goes to Paragraphs B and
 7    C that Your Honor was going on, is applicable there, but we
 8    provided the contact information addresses for temporary
 9    venues, as well.
10                But by the time we filed that on November, I
11    believe it was the 15th.
12                THE COURT:   So, in other words, you didn't omit it.
13    It's just that things had changed, and it wasn't going into
14    2019?
15                MR. McFARLAND:   Exactly, Your Honor.     And, in fact,
16    the artifacts that were in that exhibition have been
17    returned to the United States.
18                THE COURT:   I just wanted to be sure that wasn't an
19    omission.    It was an omission but it was intentionally
20    omitted because it was over?
21                MR. McFARLAND:   Didn't fall under either category
22    temporary or permanent, Your Honor, that's right.
23                THE COURT:   Let me go through my notes one more
24    time while you are still up there.
25                MR. McFARLAND:   I would say, Your Honor, and I




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 1    would apologize because I was a little slow on the take on
 2    one of Your Honor's bankruptcy questions.         But the
 3    creditors' committee, with whom the museum was originally
 4    teamed, actually supported the sale plan that the bankruptcy
 5    court approved on October 18th.
 6              THE COURT:    All right.    From your perspective, in
 7    what form, assuming the Court approves this Asset Purchase
 8    Agreement, will R.M.S.T. still exist?
 9              MR. McFARLAND:     Yes, Your Honor.
10              THE COURT:    In what form?
11              MR. McFARLAND:     In the same corporate entity that
12    it is now.    It will have a different board of directors, but
13    it will still exist as an independent corporation.          It will
14    still continue to, among its duties, conserve, curate,
15    preserve, and be involved in the exhibition of the
16    artifacts, and the education aspect, and will still have the
17    salvage rights and be the salvor in possession for the wreck
18    site.
19              THE COURT:    All right.    In that regard, then, the
20    reason I'm looking at that proposed order, and I'm looking
21    at Section D of that order, and I'm looking at the red and
22    the blue lined versions, I notice that this was changed from
23    R.M.S.T. and PAHL shall promptly inform the Court and NOAA
24    of any change to the composition and makeup of R.M.S.T.
25    board's, officers and senior management team or any change




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 1    of control of R.M.S.T.      Why was PAHL omitted from that?
 2               MR. McFARLAND:    I think it's important to maintain
 3    the corporate formalities, Your Honor.        If we are talking
 4    about the R.M.S.T., the party that is before this Court
 5    right now, and of course, PAHL has agreed it will also.
 6               THE COURT:   PAHL is now going to be before the
 7    Court.
 8               MR. McFARLAND:    They will be, Your Honor.      But in
 9    terms of maintaining corporate formalities, if it's a change
10    in R.M.S.T., then that ought to come to the Court from
11    R.M.S.T.
12               THE COURT:   But if PAHL is the parent company,
13    could it also come from the parent company.
14               MR. McFARLAND:    It could, Your Honor.
15               THE COURT:   So why not add both?
16               MR. McFARLAND:    I think, Your Honor, we thought
17    that having been before this Court for 20 plus years that we
18    ought to be the entity that would report those things.
19               THE COURT:   It didn't please the Court when your
20    acquisition was before the Court.       You had been before the
21    Court for 20 some years, but maybe the Court wanted more
22    than you before the Court.      We have gone through that one
23    before.
24               MR. McFARLAND:    Or, Your Honor, what I'm saying is
25    to the extent that PAHL is going to report things, then PAHL




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 1    would do that.    But I think for clarity purposes and for
 2    maintaining the corporate identities, information about
 3    R.M.S.T. itself ought to come from R.M.S.T.
 4                THE COURT:    Why can't it come from both?
 5                MR. McFARLAND:    Well, I think, Your Honor, it does.
 6    If we look at J, and part of this is, again, what I will
 7    call the belt and suspenders.       J references PAHL's
 8    obligations.    You will note that in J we don't list R.M.S.T.
 9                THE COURT:    I'm looking at the redlined and green
10    and blue versions.       So I've got to find the J in that
11    version.    You are talking about in the current version that
12    is now J?
13                MR. McFARLAND:    Exactly, Your Honor.
14                THE COURT:    I'm on that.   I've got the current
15    version of J.
16                MR. McFARLAND:    So J indicates that PAHL is
17    undertaking and will undertake certain obligations to the
18    Court.   At least I guess I'll say from our perspective, and
19    by "our" I mean the debtor's perspective and R.M.S.T., it is
20    always important to keep these entities so there is no
21    problems to make some separation.
22                So J references PAHL and D references R.M.S.T.
23    Now, as a practical matter, it may not have a great effect
24    as to the report of Your Honor, but we thought for purposes
25    of the order, it was good to break them down.




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 1              THE COURT:    Don't you already have an executed
 2    membership agreement for PAHL?       So why is within 60 days of
 3    the transaction closing?      Are you planning to change all
 4    this around after you close?       This says, "Within 60 days of
 5    the transaction closing, PAHL shall:        Provide to the Court
 6    and NOAA a copy of the executed membership agreement for
 7    PAHL with all amendments thereto."
 8              So I can't count on the membership agreement that's
 9    before the Court now?      This is giving authority to
10    re-execute a membership agreement and make amendments to it,
11    and then, "Inform the Court and NOAA of the appointment of
12    any manager or managing member for PAHL."         I thought I
13    already had the membership agreement for PAHL.
14              MR. McFARLAND:     I think you do, Your Honor.        What
15    the final versions look after the closing, that's not -- we
16    are not directly involved in what PAHL may be submitting on
17    that, but I think this is just referencing that.          There
18    still has to be a closing.
19              THE COURT:    I understand there's got to be a
20    closing, but why isn't it being a closing based upon PAHL as
21    it stands before the Court today?       This says that within 60
22    days of closing, that was going to be a question later, but
23    now that you've brought it up, I don't see this relating to
24    what I just asked you because this says to the Court that,
25    actually, within 60 days after this closes, PAHL can come in




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 1    and give the Court and NOAA a copy of an executed membership
 2    agreement with all amendments thereto.        I thought we had a
 3    copy of an executed membership agreement.         Are new members
 4    going to be added?
 5              What kind of amendments are going to made?         "Inform
 6    the Court and NOAA of the appointment of any manager or
 7    managing member for PAHL" -- so are they going to change --
 8    "and identify those officials of PAHL that have authority to
 9    bind PAHL with respect to..."       So this is backing off of
10    PAHL being bound by this Court's admiralty jurisdiction.
11              Then you're going to tell the Court, well, we've
12    designated this person or we couldn't agree.         So these
13    resolutions I'm asking for, this is a back-off provision, in
14    my opinion, that allows you to go in and say we have 60 days
15    after this closes to give you a membership agreement, any
16    amendments we make to it, name officials who have authority
17    to bind us with respect to the Court's admiralty
18    jurisdiction and the STAC and authority of this Court.
19              That is backing off to enforce or adjudicate
20    compliance.    PAHL is PAHL.    Once they sign on here and
21    they've appeared before the Court, why should the Court then
22    give them 60 days to go in and change their membership
23    agreement and amend it and appoint different managers and
24    appoint different people to bind before this Court?          Why is
25    that provision there?




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 1                MR. McFARLAND:    Your Honor, I'm not trying to
 2    dodge, but I think in some respects that's really a question
 3    for PAHL.    But I am speaking for R.M.S.T.       I'm not aware of
 4    any effort.
 5                THE COURT:    The reason I got to that before I got
 6    back to PAHL was because you referenced it.         I asked you
 7    what form R.M.S.T. would exist in.
 8                MR. McFARLAND:    Right.
 9                THE COURT:    Then I'm asking the question about why
10    it's not, and PAHL promptly informed, why wasn't both of
11    them?   Why they both couldn't have the duty to the Court as
12    the parent and the subsidiary, or there could be one filing
13    on behalf of both of them doing that?
14                MR. McFARLAND:    My point there, Your Honor, I was
15    referencing Paragraph J just to show the distinction that is
16    made when there are separate filings or separate, if you
17    will, obligations.       It may be that you could do a joint
18    filing in that sense, but we wanted to, particularly at this
19    point in time, for the transaction to make sure that the
20    corporate formalities.       R.M.S.T. is a separate corporate
21    entity, as we have said to the Court, and it will remain a
22    separate corporate entity with its own board of directors,
23    retaining the assets that it presently has.
24                Now, PAHL is going to acquire a hundred percent of
25    its stock, if this is approved by this Court and then the




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 1    final closing occurs.      But I was referencing and trying to
 2    show that there is in this agreement, when it is something
 3    that's R.M.S.T.'s, it is broken out that way.         When it is
 4    something that's PAHL's, it is broken out that way.          And
 5    then I think there are certain provisions, for example,
 6    Paragraph G which references that certain things are going
 7    to be done by both of them, and there you've got PAHL acting
 8    in its oversight capacity in a sense because that's one of
 9    the obligations it undertook before this Court, acting in
10    its oversight capacity with R.M.S.T. to provide, for
11    example, 60 days' notice as to the collection.
12              There is a later provision, as well, on the C&C's,
13    et cetera.    If there's going to be an exhibition -- excuse
14    me, an expedition, as in Paragraph H, that's an R.M.S.T.
15    function, an R.M.S.T. duty.
16              THE COURT:    I agree.
17              MR. McFARLAND:     So that is why you will see just
18    R.M.S.T. there.     I don't think, Your Honor, there is any
19    intention to backtrack in any way what is before the Court.
20              THE COURT:    I'll ask this of Mr. Barger, but what's
21    being contemplated within 60 days of this transaction in
22    regard to a new executed membership agreement with
23    amendments thereto?     Somebody's contemplating something or
24    they wouldn't put this provision in.
25              MR. McFARLAND:     I think, Your Honor, and, again, I




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 1    don't want to speak too far, but I think this is the
 2    transactional attorneys weighing in with the admiralty
 3    attorneys.
 4              THE COURT:    Then maybe the admiralty attorneys
 5    ought to prevail.     This is just an aside.      When I was
 6    practicing law, transactional attorneys, there were deal
 7    makers and deal breakers.      That's the old saying in the law.
 8    Some transactional attorneys are deal makers and some are
 9    deal breakers.    When you insist upon too much minutia
10    because you're scared or protecting yourself or whatever,
11    you can be a deal breaker.
12              MR. McFARLAND:     And I can say to the Court,
13    speaking on behalf of my clients, the debtors, there has not
14    been anything but an attempt to, A, try and address the
15    Court's concerns from the October 25th hearing; and, B, make
16    it so there is a transaction that works.         That's what I
17    think is intended here.
18              THE COURT:    I'm not disagreeing with you,
19    Mr. McFarland.    I'm not disagreeing with R.M.S.T.        I asked
20    you a question about whether you knew why PAHL had been
21    removed from that provision and only R.M.S.T. left in.           You
22    are the one that took the Court over to J, and I have not
23    gotten to my yellow tabs in the red, green, blue and black
24    inked order.    So you took me over to another tab, which is
25    why I asked you that question.




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 1              I think that is all, Mr. McFarland, for now.
 2              MR. McFARLAND:     Thank you, Your Honor.
 3              THE COURT:    We will take a 15-minute recess, and,
 4    Mr. Barger, you, obviously, know the next question that I'm
 5    going to ask you in regard to section J of the proposed
 6    order.   If anyone wants to make any further statement on the
 7    bankruptcy proceedings, you can do that.
 8              MR. BARGER:    Yes, Your Honor.
 9              THE COURT:    I'll hear one more time from you,
10    Mr. Porter, on some of the things that have been raised.
11              MR. PORTER:    Your Honor, I would certainly invite
12    you to hear from Mr. Troy, if you would like, on the
13    bankruptcy aspect.
14              THE COURT:    That will be fine.     We will first hear
15    on the bankruptcy issue since that was raised before, then
16    we will go to Mr. Barger on the provision that I asked
17    about, and then I'd like to hear what you have to say on
18    that provision, too, Mr. Porter.
19              MR. PORTER:    Certainly.
20              THE COURT:    What you know about provision J.
21              MR. PORTER:    I'm prepared to speak to that, Your
22    Honor.
23              THE COURT:    You both can speak to J, and Mr. Troy
24    and whoever you want to have speak, as long as we don't have
25    a bankruptcy dissertation as we did at one of our hearings




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 1    that went on for a long time.       My manners didn't allow me to
 2    stop the speaker.     I'm asking what time it is, not how to
 3    make the clock.
 4              Okay.    The Court stands in recess for 15 minutes.
 5              (Recess from 3:13 p.m. to 3:27 p.m.)
 6              THE COURT:    I think we were going to address the
 7    bankruptcy matters first.
 8              MR. McFARLAND:     We were, Your Honor.     In light of
 9    the Court's questions, which I answered as best I could, but
10    admittedly a little out of my normal bailiwick, we have Nat
11    Brooks here, Your Honor, who represents the company, the
12    debtors in the bankruptcy.      I thought he may be able to
13    answer the Court's questions and give just a slight overview
14    on some things.
15              THE COURT:    Mr. Brooks is with Troutman Sanders?
16              MR. McFARLAND:     He is.   I will say this to the
17    Court.   He has not been admitted pro hac vice.
18              THE COURT:    I'll listen.
19              MR. McFARLAND:     Thank you, Your Honor.
20              MR. BROOKS:    Thank you, Your Honor, for letting me
21    speak.
22              THE COURT:    Good afternoon, Mr. Brooks.
23              MR. BROOKS:    Hesitant being introduced as the
24    bankruptcy expert, but I can just give the Court -- to
25    answer the question about the proposed transaction before




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 1    this Court, in the alternative, if that transaction is
 2    consummated, the debtors, if the deal with PAHL, Your Honor,
 3    is not consummated, would be forced to return to the
 4    bankruptcy court and liquidate.       There is no time or
 5    creditor support for any other deal in the case.          This is
 6    the deal that the creditors have signed off on.          If that
 7    deal doesn't close, the only option for the debtors would be
 8    to convert the case and liquidate.
 9              THE COURT:    Mr. Brooks, let me just ask you, what
10    is the status?    I just call it the museum plan because we
11    decided early on it would be easy to just refer to it
12    collectively as the museum plan.       But what is the status of
13    that, if any, in the bankruptcy court?
14              MR. BROOKS:    The creditors' committee in the case,
15    Your Honor, proposed that plan jointly with the museum, and
16    the creditors' committee was the party in interest to
17    propose that plan under the bankruptcy code.         The committee
18    withdrew support of that plan.       So there is no party with
19    standing currently before the bankruptcy court to push that
20    plan forward, and that's the status.
21              THE COURT:    Let me see if there is anything else.
22    Is there any other plan?      You're saying there is no other.
23    The only two I have ever been aware of, have been brought to
24    this Court's attention, were the two plans, were PAHL and
25    the museum.




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 1              MR. BROOKS:    That's correct, Your Honor.       The
 2    equity committee's plan, their disclosure statement was
 3    denied, so that will not be going forward.
 4              THE COURT:    Then, thank you.
 5              MR. BROOKS:    Thank you, Your Honor.
 6              THE COURT:    Mr. Troy, do you want to make any
 7    statement?
 8              MR. TROY:    Thank you, Your Honor.      Matthew Troy,
 9    United States Department of Justice, Civil Division, on
10    behalf of NOAA.     No, I think Mr. Brooks covered what I was
11    going to tell you.     And hearing it from the debtor is
12    probably hearing it better than from me.
13              THE COURT:    I just wanted to make sure because we
14    hear bankruptcy appeals, but the day-to-day operations of
15    bankruptcy, I just want to be sure that I understood what
16    was going on and that I had the right understanding of the
17    bankruptcy proceedings.
18              MR. TROY:    I think you do.     If you have any doubts,
19    I'm here for questions.
20              THE COURT:    Thank you, Mr. Troy.
21              I don't have any further questions about the
22    bankruptcy at this juncture.
23              Mr. Barger, if you can answer the questions that I
24    asked about J.
25              MR. BARGER:    I can, Your Honor.      Before I start, I




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 1    just want to say, if, with the Court's permission, may I use
 2    the time, don't tell me how to make the clock analogy in the
 3    future, because if I have heard it, I forgot it.          I really
 4    want to use that again, not in front of you, but can I take
 5    that with me?
 6              THE COURT:    You can certainly use it.       I don't own
 7    that expression, I don't think.
 8              MR. BARGER:    It's a great teaching tool for my
 9    colleagues.    Give me the time, not how to make the clock.
10    Tell me about the case, not the whole case.         I apologize for
11    trying to be a little funny.       J is largely the product of
12    discussion with the government and their desire to make sure
13    that NOAA, and ultimately the Court, are given more fulsome
14    information.    It wasn't an effort to reduce information.
15              So it really was the product of, at least as I
16    understand it at the time, if we were able to go to closing,
17    if the Court approves the agreement, the LLC agreement as it
18    exists, is relatively vanilla.       It has three members, two of
19    whom that are here, and the third one who is a part of it
20    had committed to remaining in the LLC.
21              But it is anticipated that the number of board
22    members would expand and that, perhaps, some aspects of the
23    agreement would be amended.       None of that would have any
24    impact whatsoever on PAHL's commitment and being bound to
25    this order and the Court's jurisdiction.




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 1               So at least as I understood it, the desire of the
 2    government was to make sure they are getting more fulsome
 3    information as the business through PAHL gets off the ground
 4    and changes with the idea of being there is going to be an
 5    infusion of money, the expansion of the business, and my
 6    clients could speak better to this if the Court needs, but
 7    that was the desire in J.
 8               If the Court looks at the last sentence of J, that
 9    is sort of the catchall, that not only do we have to give
10    the information within 60 days at closing, but PAHL shall
11    provide updates to the Court if there are any material
12    changes.    So those two in combination give the Court and
13    NOAA immediate information and then periodic information if
14    that changes.    But the core members remain the same.
15               THE COURT:    Thank you.
16               MR. BARGER:   Yes, ma'am.
17               THE COURT:    I think that was the only question I
18    had.   I'm going to make a final review before we adjourn of
19    all of my notes, but I think that was the only outstanding
20    question at the moment.
21               MR. BARGER:   Thank you, Judge.
22               THE COURT:    Thank you.
23               Mr. Porter, I think you can address that provision,
24    J.
25               MR. PORTER:   Yes, ma'am.     Mr. Barger has said it




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 1    correctly, the evolution from D and adding J does have its
 2    origins in the corporate separateness and the maintaining
 3    the separateness of the corporate structure of R.M.S.T.           As
 4    this process began, NOAA wanted a great deal of information
 5    to be included and a great deal of commitments.
 6              The whole issue of the potential for piercing the
 7    corporate veil has aspects that come back to haunt the
 8    government potentially, as well, if something were to happen
 9    to PAHL and someone looks at an agreement and it's so
10    intertwined that someone goes after PAHL and R.M.S.T. to the
11    artifacts.
12              So we understand that argument.        That's why D
13    changed slightly to remove PAHL and why J then comes into
14    the picture, to ensure that the Court is getting the
15    information it needs to know what PAHL's structure is and
16    who is involved.
17              As Mr. Barger says, initially the agreement that is
18    in the due diligence materials refers to a managing member,
19    but we asked the question, and there is not a managing
20    member.   They were acting in unison, all three of them.          All
21    three act together on behalf of PAHL to make decisions.
22              So we asked if that's changing, then that's the
23    information we want.     But that's where J comes from, and
24    even the addition, it was actually a late addition at the
25    very end of that, that there would be updates continually to




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 1    that so that the Court would always have information about
 2    PAHL and R.M.S.T.
 3                THE COURT:    Thank you.   Let me look through my
 4    hearing file.    The one outstanding matter I understand is
 5    that you're going to get the Court ASAP the resolutions from
 6    the three, basically, entities in the membership of PAHL?
 7                MR. BARGER:   Yes, Your Honor.    Apollo, Alta and
 8    PacBridge to confirm that they authorized.
 9                THE COURT:    Those three individuals to sign?
10                MR. BARGER:   Yes, Your Honor.
11                THE COURT:    I think it's Mr. Li, Mr. Glatt and
12    Mr. Trainor.
13                Mr. Porter, I'm going to pass over to you the
14    original of the order that you want the Court to order.           I'm
15    not entering it at the moment, not to say I won't, but
16    that's not why I'm passing it to you.        I'm passing it so
17    that you put on here where it says "seen," you put in your
18    own handwriting "and agreed" with your initials beside it.
19                MR. PORTER:   I will do that, Your Honor.
20                THE COURT:    This is the original signature page
21    that was given to the Court, submitted on the 16th.          If you
22    will pass this to Mr. Porter to put "and agreed" with his
23    initials.
24                MR. PORTER:   Your Honor, just to be clear, we, of
25    course, fully agree with this order.        We were directly




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 1    involved in it.     We are not a party.     We are still the
 2    amicus but we fully agree with the terms of this order.
 3              THE COURT:    That is all that I'm asking.       You
 4    didn't say we asked for this.       They said we ask for this.
 5    You put seen and agreed.      I think the full record of the
 6    case will be clear of NOAA's involvement and why you're here
 7    and why you were a party to the order, and you did the due
 8    diligence.
 9              While I am here, I was going to do this in the end,
10    but I wanted to thank you and Ms. Rolleri and all of the
11    individuals that you've been involved with for your due
12    diligence and what you've done to assist the Court and all
13    of the parties in getting this proposed order to approve the
14    Asset Purchase Agreement.      I know you all have worked very
15    hard.   The Court is very appreciative.
16              MR. PORTER:    Thank you, Your Honor.
17              THE COURT:    There is one change that I'm definitely
18    going to make to the order, so I will tell you now, and if
19    there is a problem, you will know about it.         It's on Page 4
20    of the order.    It's provision G:     "R.M.S.T. and PAHL shall
21    provide the Court and NOAA at least..."        I'm changing that
22    to 90 days because with the complexities of certain matters,
23    60 days can go by pretty quickly, as we all know.          So I'm
24    going to change that deadline there to 90 days.          Is there
25    any opposition to it?




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 1                MR. PORTER:   Not from the United States, Your
 2    Honor.
 3                MR. McFARLAND:   Not from R.M.S.T., Your Honor.
 4                THE COURT:    Mr. Barger?
 5                MR. BARGER:   No opposition, Your Honor.      Thank you.
 6                THE COURT:    I have made that change, and I have put
 7    my initials by it.
 8                Then is there anything further that anyone wants to
 9    offer in regard to the first motion that we were on, which
10    is to approve the Asset Purchase Agreement?         Hearing
11    nothing, we will move on to the amended motion to intervene.
12                Mr. Powers, I said I would give you an opportunity,
13    and you've heard some matters represented today, and you can
14    certainly address the Court now.        Again, I will hear
15    everything you have to say within reason.
16                MR. POWERS:   Thank you, Your Honor.     May it please
17    the Court.    Your Honor, I think it is important to recall
18    how we came to be here, how it is that R.M.S.T. came to
19    acquire title to the French collection.
20                Your Honor, to be clear, the museum, the concern
21    that we have had all along, and I know it's a concern the
22    Court shares, is that there is a very significant, I would
23    say, clear and present risk that as soon as this order is
24    approved, the French collection will be sold off into
25    oblivion.




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 1               THE COURT:    Before you go any further with that,
 2    though, hasn't the Fourth Circuit said that this Court lacks
 3    jurisdiction over the French collection and artifacts?
 4               MR. POWERS:   Your Honor, specifically the Court
 5    said this Court lacks in rem jurisdiction over the French
 6    artifacts.    But the Fourth Circuit also said some other
 7    things in its opinion that I think is worth noting.          As Your
 8    Honor well knows, in the 2000 -- I believe it was the 2006
 9    opinion from the Fourth Circuit, 435 F.3d 521, the Fourth
10    Circuit emphasized how it came to be that R.M.S.T., or the
11    predecessor in interest to R.M.S.T., which I believe was
12    Titanic Ventures, came to acquire title of the French
13    collection.
14               On Page 527 of the Fourth Circuit's decision, they
15    emphasize that, "Titanic Ventures also made a commitment" --
16    that's the Fourth Circuit's word is "commitment," that's not
17    my word.    And what they refer to is the letter of September
18    22nd, 1993, 25 years ago, Your Honor, in which Titanic
19    Ventures petitioned the French government for title to the
20    French artifacts.
21               And in that letter, Your Honor, which the Fourth
22    Circuit recites in its decision, I quote, "Titanic Ventures
23    also made a commitment in the letter that 'the artifacts
24    will only be used [for] a cultural purpose and will not,
25    therefore, be part of any operations which would lead to




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 1    their dispersion, but to the exception of exhibition
 2    purposes, and none of the artifacts will be sold.'"
 3               The Fourth Circuit went on, on Page 528, and I
 4    think it's critical because the Fourth Circuit recognized
 5    that implicit in the French government's grant of title was
 6    a recognition that, and they, indeed, incorporated that
 7    letter into their decision, that the French artifacts would
 8    not be sold.
 9               I'm continuing, Your Honor, by quoting the Fourth
10    Circuit:    "The administrator's decision" -- the French
11    administrator's decision -- "also incorporated Titanic
12    Ventures' assurances made in its September 22nd, 1993 letter
13    stating that, '[Titanic Ventures] agreed to make use of such
14    objects in conformity with the respect due the memory of
15    their initial owners and to not carry out any commercial
16    transaction concerning such objects nor any sale of any one
17    of them nor any transaction entailing their dispersion, if
18    not for the purposes of an exhibition.'"
19               THE COURT:    Excuse me just one minute.      Go ahead,
20    Mr. Powers.
21               MR. POWERS:   I believe it's clear from the Fourth
22    Circuit's language they would not have recited that
23    commitment, that guarantee by -- and I'll use the term
24    R.M.S.T. because they were essentially the successor in
25    interest to Titanic Ventures.       The Fourth Circuit made a




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 1    point of explaining this commitment to keep the collection
 2    together in its 2006 decision, which I've been citing to,
 3    holding that this Court lacked jurisdiction over the in rem
 4    collection, but that's all they said.
 5              They did not in any way limit this Court's ability
 6    to -- let's skip forward just one year.        Right after this
 7    decision in 2006, as Your Honor well knows, there are
 8    covenants and conditions in which R.M.S.T. again came
 9    forward and represented to this Court, in exchange for
10    asking this Court, as a condition precedent for receiving an
11    in species salvage award, and again they reiterate, "The
12    subject Titanic artifact collection shall, to the maximum
13    extent possible and consistent with reasonable collections,
14    management, practices, be conserved and curated together
15    with the French Titanic artifact collection as an integral
16    whole by the trustee."
17              THE COURT:    Let me stop you there because I think
18    these are important points, and I will certainly hear a
19    response as appropriate from Mr. McFarland, Mr. Barger, and
20    Mr. Porter.    It seems to me that this Asset Purchase
21    Agreement would cover if they try to sell the French
22    artifacts because it would be part of the Titanic
23    Collection, and they have to notify the Court within 60 days
24    or 90 days.
25              So it would seem to me that, at minimum, if the




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 1    Court does have jurisdiction or decides that the Fourth
 2    Circuit has, and, of course, that would all have to be
 3    briefed.    But it would seem to me now the Asset Purchase
 4    Agreement would require, in a number of provisions,
 5    notification to this Court if they were going to try to
 6    separate or sell the artifacts, for two reasons:          First,
 7    it's in the Asset Purchase Agreement; and, second, it's in
 8    the covenants and conditions that they have to make every
 9    effort to keep the artifacts together.
10               If they are going to do anything that involves the
11    covenants and conditions or the Asset Purchase Agreement,
12    they have to notify the Court.
13               MR. POWERS:   I don't read it that way,
14    respectfully, Your Honor.      To be clear, they have
15    continuously referenced the covenants and conditions as
16    precatory language only.      It is just aspirational as it
17    regards the French collection.       I want to emphasize that the
18    only way that the public's interest is going to be protected
19    is either the purchaser agrees, as the museum has done, to
20    commit that they will never break up the collection, or not
21    nearly as good, but I guess a second best option would be
22    that they will never break up the collection without this
23    Court's prior approval.
24               The order doesn't do either.      The order simply says
25    if they want to sell the French collection, they can do it.




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 1    Frankly, there is nothing stopping them.
 2                THE COURT:    Let's go to that in the order because I
 3    think that's important.      Let's look at the actual wording of
 4    the order.    I have it in front of me.
 5                MR. POWERS:   I don't have it in front of me, Your
 6    Honor, if I could maybe get a copy.
 7                THE COURT:    You can.   If not, I'm sure we can get a
 8    copy.
 9                MR. POWERS:   Thank you, Your Honor.     I would refer
10    to Paragraph G, Page 5, in which when we were here last
11    time, and Your Honor had concerns, the original language
12    said that they had to provide 60 days' notice and seek Court
13    approval.    Well, seeking Court approval has been stricken
14    out.
15                THE COURT:    I noted that when I was going through
16    this, but it is in here the Court approval.         Wait just a
17    minute.   I have to go back to my marked up copy.         It says
18    here, "And shall be subject to."
19                MR. POWERS:   I'm sorry.   Where are we looking, Your
20    Honor?
21                THE COURT:    I'm looking at G.   It says, "Any such
22    action as described in G(i) and (ii) shall be subject to
23    prior approval of this Court..."
24                MR. POWERS:   "...to the extent required by
25    applicable law, including orders by this Court (including




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 1    the C&Cs) and the United States Court of Appeals for the
 2    Fourth Circuit."     I believe what this is saying, Your Honor,
 3    and this is speculation on my part, but I believe what that
 4    language is intended to say is, we didn't -- the Fourth
 5    Circuit, in their interpretation, R.M.S.T. and PAHL's
 6    interpretation, is the Fourth Circuit has said, you, Your
 7    Honor, have no in rem jurisdiction over the French
 8    collection, which, by extension, means you have no right to
 9    tell us what we can and cannot do vis-à-vis the French
10    collection.
11              I believe that is absolutely incorrect.         They were
12    the ones who -- let's put it this way.        The only way they
13    were able to gain title to the French collection was to
14    represent to the French government that they would never,
15    ever sell it.    Then they agreed again with this Court to the
16    extent possible.     But this wordsmithing, to me, is
17    indication that they are going to sell the French
18    collection, and what they are going to say is, Your Honor,
19    we didn't have to seek approval to sell the French
20    collection because the Fourth Circuit, or at least their
21    interpretation of the Fourth Circuit, is that we didn't have
22    to because you don't have in rem jurisdiction.
23              If your only hammer to enforce it is in personam
24    jurisdiction over an empty box, which is the stalking horse.
25              THE COURT:    But let me ask you this.      The first




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 1    part of this says they've still got to give "90 days advance
 2    notice of any action that will result in the Titanic
 3    Collection (as defined in the C&Cs)..." and isn't it defined
 4    in the C&Cs involving the French artifacts?
 5              MR. POWERS:    To the extent -- I think what you are
 6    going to hear, the argument will be conserved and curated
 7    together with French Titanic Artifact Collection to the
 8    extent possible.
 9              THE COURT:    The Titanic Collection is different.
10    That's keeping it together to the extent possible.          It's
11    defined in the Titanic Collection, and I'll go back and look
12    at it, but the Titanic Collection is defined.         I'm not
13    talking about what they have agreed to do with it in the
14    C&Cs, but the Titanic Collection is defined in the C&Cs as
15    including the French artifacts.
16              Ms. Rolleri, you are shaking your head yes.           Have
17    you read it recently, or Mr. Porter?
18              MR. PORTER:    Yes, Your Honor.     That Section II
19    Paragraph H of the C&C:      "Titanic Collection refers to the
20    total assemblage of the French Titanic Artifact Collection
21    and the subject Titanic Artifact Collection."
22              MR. POWERS:    Your Honor, if that's the
23    interpretation, then I guess our concerns are somewhat
24    alleviated.    But, again, the other issue is if they're going
25    to put NOAA and the Court on notice that this is what's




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 1    going to -- let's assume that the Court approves the sale,
 2    it goes through, it has been consummated, it's closed, and
 3    now they decide they want to sell the French collection
 4    because they think they can, and apparently they are going
 5    to give 90 days' notice to the Court and to NOAA, but then
 6    what if nobody challenges it?
 7              THE COURT:    Well, as soon as they give 90 days'
 8    notice, I can assure you what this Court will do.          This
 9    Court is going to issue them an order that they can take no
10    further action whatsoever until they come before this Court
11    and we brief this provision.       It's not up to them to
12    interpret what the United States Court of Appeals for the
13    Fourth Circuit said.     It's up to me at a threshold level as
14    the judge of this Court, and then it's up to the Fourth
15    Circuit judges, if for some reason someone doesn't agree
16    with my interpretation of it.
17              As far as I'm concerned, I don't like the language
18    "to the extent required by applicable law."         That may come
19    out of here.    I don't know why that's there.       Before they
20    sell anything, it's going to be subject to the approval of
21    this Court, including its orders and the United States Court
22    of Appeals for the Fourth Circuit.
23              The reason I would leave the United States Court of
24    Appeals for the Fourth Circuit there is not necessarily
25    because I agree with their interpretation of that case, but




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 1    it gives them the legal option that they would have to
 2    appeal what this Court could decide if this Court decided
 3    not to let them do something that they thought they legally
 4    could.
 5                MR. POWERS:   That's all we can ask, Your Honor.       We
 6    share the Court's concerns about keeping the collection
 7    together.    That's the only reason we are here to begin with,
 8    and to be clear, our plan is still in abeyance in the
 9    bankruptcy court.     It has not been rejected by the judge.
10    It's still sitting on his desk.       Yes, the creditors'
11    committee withdrew approval for several reasons, largely
12    because the landlord switched sides and likes this deal
13    better, for various reasons.       It gets more money.
14                But let's be clear.    We couldn't participate
15    originally because of this 1 million non-refundable deposit
16    which kept us from actually formally submitting the plan.           I
17    certainly don't profess to be a bankruptcy expert, and the
18    bankruptcy lawyers are here if the Court would like any
19    further questions to ask of them.
20                THE COURT:    I agree with what you say.     I think
21    it's been held in abeyance.       That's the way I read
22    everything.    Whether I'm using a technical bankruptcy term,
23    and I think this is a Section 323 sale, and that's the way
24    I'm proceeding.
25                MR. POWERS:   To be clear, if for whatever reason




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 1    the sale were not to go through, I think the doomsday
 2    predictions of liquidation are somewhat overblown because at
 3    the end of the day, it's ultimately up to them.          If they
 4    want to liquidate, they can liquidate.        But If they really
 5    want to sell, we are here and ready to go if for whatever
 6    reason the deal falls through.        I thank Your Honor for
 7    allowing me to speak.
 8                THE COURT:   All right.    Mr. McFarland.
 9                MR. McFARLAND:   Thank you, Your Honor.      Your Honor,
10    we are, ostensibly, here on a motion to intervene that was
11    filed by the museum months ago.
12                THE COURT:   They asked for the Court to hold it in
13    abeyance.    I have given them a say here out of an abundance
14    of caution and so that everything is fully on the record.
15                MR. McFARLAND:   I understand, Your Honor.
16                THE COURT:   I'm not calling technicalities on them.
17    They have not intervened yet because they have a motion in
18    abeyance, which I am granting.
19                MR. McFARLAND:   They have asked this Court to hold
20    their motion in abeyance, is what I understand.
21                THE COURT:   What if this doesn't go through?
22    Because even if I enter this, it's still got to be approved
23    by PAHL.
24                MR. McFARLAND:   But what the museum is asking this
25    Court to do is to let them sit on the sidelines when they




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 1    have no legal standing.      They didn't participate -- they
 2    participated to a certain extent in the bankruptcy court,
 3    then the plan that was offered by the creditors' committee,
 4    of which they were a part, and the only reason they got to
 5    put that before the bankruptcy court is because they joined
 6    with the creditors' committee.       They are not a creditor of
 7    my client.    This Court well knows they don't have any legal
 8    ownership in the artifacts.
 9                THE COURT:   All I'm doing is approving, if I do, an
10    Asset Purchase Agreement, and this has not yet been
11    approved.    There is a provision here that then it has to go
12    back to PAHL and get approval.       Maybe the whole transaction
13    falls through.    It's not over till it's over.
14                MR. McFARLAND:   I agree, Your Honor.     But here is
15    what doesn't happen if it falls through.         It doesn't mean
16    that automatically the museums', to the extent it's, quote,
17    in abeyance, offer gets accepted by the bankruptcy court.
18    We have to go through a whole another process.
19                THE COURT:   What difference does it make if this
20    Court holds the museum, that the Court hasn't let them
21    intervene?    All it is, is saying I'm not ruling on your
22    motion to intervene.     I'm holding it in abeyance.       It
23    doesn't have anything to do with the bankruptcy court at
24    this juncture if this goes through.
25                MR. McFARLAND:   Well, Your Honor, I think there is




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 1    an issue.
 2                THE COURT:   I think you should check with your
 3    bankruptcy lawyer.
 4                MR. McFARLAND:   I will, Your Honor.     I think what
 5    the bankruptcy folks will tell this Court, and we did in
 6    your pleading is, what the museum is doing is in violation
 7    of the automatic stay and the bankruptcy court's order.
 8                THE COURT:   Then take that up with the bankruptcy
 9    court.   If you want to go down to the bankruptcy court and
10    extend your legal fees even more and extend this even more,
11    why don't you go before the bankruptcy court and file a
12    motion for sanctions because they violated the stay.
13                MR. McFARLAND:   We don't want to do that, Your
14    Honor, unless we absolutely have to.
15                THE COURT:   You just said by filing the motion to
16    intervene here, they violated the stay.        That's not for me
17    to rule on.    That's a bankruptcy court issue.       If they
18    violated the stay and the bankruptcy court thinks they have,
19    then that's up to the bankruptcy court.
20                MR. McFARLAND:   Right.   But what we don't want is,
21    we do want this transaction to close as soon as possible.
22                THE COURT:   We are talking about holding it in
23    abeyance.    I think Mr. Wainger might have written you a
24    note.
25                MR. McFARLAND:   He did, Your Honor.     That's fine.




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 1    What we don't want is something to interrupt the closing.
 2              THE COURT:    Maybe you are doing it right now.         The
 3    bottom line is that by granting the museum's motion to hold
 4    in abeyance intervention is exactly what it says.          The Court
 5    has not let them intervene here.       It said this is an ongoing
 6    case.   I'm holding your motion in abeyance.        I'm holding
 7    your intervention in abeyance.       I'm granting that.     In the
 8    meantime, if your position is they are violating the
 9    bankruptcy stay, take it up with the bankruptcy court.
10              MR. McFARLAND:     Understood, Your Honor.      That's
11    fine.   We can live with that.      Our intention is, Your
12    Honor -- I want to emphasize, our intention is, assuming
13    this Court will enter the order approving the sale of the
14    stock purchase, we want to then proceed to a closing and
15    then final approvals.
16              We appreciate the Court's assistance and the
17    Court's moving things along so that that can be done and
18    your attention.
19              THE COURT:    Okay.   Mr. Porter, if you want to
20    address this position about final approval and the French
21    artifacts.
22              MR. PORTER:    I will if Your Honor would like me to.
23    Certainly, as Your Honor knows, except for Mr. Barger, I
24    have been involved in this case the least amount of time a
25    couple of years, maybe close to three now.         The issue of the




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 1    French artifacts and the jurisdiction and whether the Court
 2    can approve has been a back and forth between NOAA and
 3    R.M.S.T. on a number of occasions, and it has come before
 4    this Court at least on one occasion, perhaps more.
 5              The issue, though, has always been at that time is
 6    there wasn't particularly a live case or controversy to
 7    actually address that particular issue, and so it's always
 8    been suggested, at least I believe we have suggested, that
 9    we sort of kick this can down the road till a time that we
10    actually have a live case or controversy for the Court to
11    decide.
12              This provision in here about the 60, now 90 days,
13    is really intended to do just that.        There is, obviously, a
14    disagreement, and as we have relayed in our filing as well,
15    we personally think that the covenants and conditions
16    contain any number of provisions -- I think we have listed
17    out six or eight of them -- that directly impose on R.M.S.T.
18    responsibilities vis-à-vis the French artifacts, directly
19    impose on them, and the C&Cs obviously impose in personam
20    jurisdiction on R.M.S.T. to comply with all provisions.
21              So the implication of that, should there be some
22    action to sell the French artifacts, is a question for when
23    that comes up, and we will be prepared to address what the
24    Court's role is, what we believe the Court can do and what
25    consequences may befall a request to dispose of any of the




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 1    French artifacts.
 2              THE COURT:    All right.
 3              MR. PORTER:    Thank you.
 4              THE COURT:    Then is there anything that anyone else
 5    wants to add in regard to the matters before the Court?
 6              MR. PORTER:    Not from the United States, Your
 7    Honor.
 8              MR. McFARLAND:     Not from R.M.S.T., Your Honor.       We
 9    appreciate the Court's attention and assistance.
10              MR. BARGER:    Nothing from PAHL.
11              THE COURT:    Then when do you plan to have these
12    resolutions to me, Mr. Barger?
13              MR. BARGER:    This week.
14              THE COURT:    Well, you want this Asset Purchase
15    Agreement, it is called a condition precedent to me putting
16    my signature on it.
17              MR. BARGER:    Yes, Your Honor.
18              THE COURT:    I'm still going to go back and read
19    this, and I will make any changes I deem appropriate based
20    upon all your filings, the hearing today, and everything
21    that's been said to determine its entry.         But that's a
22    threshold requirement, in my mind, because I know those
23    resolutions are required under the law.
24              MR. BARGER:    Yes, Your Honor.     Could I go back
25    just, like, 10 seconds?      I did want to add one other thing.




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 1              THE COURT:    Sure.   You can come up to the podium.
 2              MR. BARGER:    I know my partners will question my
 3    sanity on this.     I think I'm right.     I just wanted to
 4    reiterate where we started today -- when I started -- that
 5    our clients are committed to making this exhibition business
 6    work and putting in time, effort, money, to make the
 7    business work, and they think it is a viable business, one
 8    that satisfies the public's interest in not only the Titanic
 9    artifacts but the other artifacts, and they see this as an
10    opportunity not only to have a viable business but to serve
11    the public's interest in having access to these artifacts,
12    not only in fixed locations but around the world.
13              So I just wanted to emphasize that.        As counsel for
14    my clients, I say that as an officer of the Court that they
15    are committed to making this business work and not only --
16    they think it's viable now given some of the bad business
17    decisions and the cost of bankruptcy previously, but they
18    believe with a good business plan, they can make this an
19    even bigger success.     I know they are committed actually to
20    going to Atlanta after this hearing to meet with Alex
21    Klingelhofer.    They have had conversations.       They know about
22    certain needs that the business has immediately that they
23    plan to address, such as an HVAC system to make sure the
24    artifacts are properly cared for, to hire additional
25    personnel.    So I proffer that to the Court so that the Court




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 1    has some assurances, to the extent my reputation matters,
 2    that my clients are committed to making this a successful
 3    venture with all those artifacts.       Thank you for the Court's
 4    time.
 5              THE COURT:    I think under this the business plan
 6    has to be submitted, does it not, Mr. Porter, under the
 7    Asset Purchase Agreement?
 8              MR. PORTER:    Yes, Your Honor.     We did request that
 9    that was part of Mr. Li's declaration that he indicated that
10    that would be done.     We would anticipate that would probably
11    be done as part of a periodic report.
12              THE COURT:    If it's not done, you will clearly
13    notify the Court?
14              MR. PORTER:    Absolutely, Your Honor.      There were
15    four items in Mr. Li's declaration that were of concern --
16    well, concern of interest to NOAA be done, and, certainly,
17    we will be monitoring that.
18              THE COURT:    You said that Mr. Li is here today?
19              MR. BARGER:    Yes, Your Honor.     Both Mr. Li and
20    Mr. Wong are here.     Mr. Li, of course, was the one that
21    signed the two declarations, and we have reaffirmed the
22    accuracy of those.
23              THE COURT:    Well, why don't we put him under oath
24    and have him re-affirm them here today.        Since he is here,
25    he can come up to the podium.




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 1                  MR. BARGER:   May I stand next to him?
 2                  THE COURT:    Yes, you may.
 3                  (Witness was sworn.)
 4                   GILBERT LI, having been first duly sworn, was
 5    examined and testified as follows:
 6                                   EXAMINATION
 7    BY THE COURT:
 8    Q.    Sir, for the record, could you just please state your
 9    name?
10    A.    Gilbert Li.
11    Q.    And could you spell it for the court reporter.
12    A.    Sure.    First name is G-i-l-b-e-r-t.     Last name is L-i.
13    Q.    Mr. Li, you presented a declaration before this Court.
14    Do you recall that?
15    A.    Yes, I do.
16    Q.    Let me go to that.      I had it in front of me at the
17    beginning of the hearing.
18                  MR. BARGER:   It is 527-2, I believe.
19                  THE COURT:    I do.   I have it right here, 527-2.
20    BY THE COURT:
21    Q.    Mr. Li, I'm going to have this document, which is 527-2,
22    it was Exhibit B to a filing, presented to you to look at.
23                  MR. BARGER:   Your Honor, we have a copy in front of
24    us.
25                  THE COURT:    I want you to see this one because I'm




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 1    going to make it a court exhibit.
 2              MR. BARGER:    All right.
 3    BY THE COURT:
 4    Q.   If you would look at that and verify for the Court that
 5    that is the declaration that you signed?
 6    A.   Yes, Your Honor, this is the one.
 7    Q.   Did you have the authority that you've represented to
 8    sign that declaration?
 9    A.   Yes, I do.
10    Q.   Do you reaffirm under oath that everything you've said in
11    there is true and correct, to the best of your knowledge,
12    information, and belief?
13    A.   Yes, I do.
14              THE COURT:    You can pass it back up to the Court,
15    and we will have this marked as PAHL Exhibit Number 2.           I
16    believe we have a number 1.       We will make that number 2.
17              (The document was received in evidence as PAHL
18    Exhibit No. 2.)
19              THE COURT:    Is there anything else anybody wants me
20    to ask of Mr. Li?
21              MR. PORTER:    No, Your Honor.
22              MR. McFARLAND:     No, Your Honor.     Thank you.
23              THE COURT:    Thank you, Mr. Li.
24              THE WITNESS:     Thank you, Your Honor.
25              (Witness excused.)




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 1               THE COURT:    Mr. Barger, is there anything further
 2    you want the other individual, I believe that you have here
 3    is -- who were the two?      You had Mr. Li.
 4               MR. BARGER:   And Mr. Wong.
 5               THE COURT:    Mr. Giovanni Wong?
 6               MR. BARGER:   Correct.
 7               THE COURT:    Any representations you want Mr. Wong
 8    to make to the Court?
 9               MR. BARGER:   Well, I covered them in my proffer,
10    but in specific, if the Court needs to hear his testimony
11    under oath, he could essentially talk about the business
12    plan and their belief that there is an opportunity to grow
13    the exhibitions and make sure that even more people have
14    access to the Titanic exhibits and the other exhibits in
15    R.M.S.T.    That would be the extent really.
16               THE COURT:    I think we have covered that.      It's
17    going to be presented, and we will have all of that
18    presented to the Court.      I would take your representation as
19    an officer of the Court that that will be done.
20               MR. BARGER:   Thank you, Your Honor.      Nothing
21    further from me.
22               THE COURT:    Thank you.   Counsel, if there is
23    nothing further, the Court stands in recess until tomorrow
24    morning at 9:00 a.m.
25               (Hearing adjourned at 4:15 p.m.)




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 1                                CERTIFICATION
 2
 3          I certify that the foregoing is a correct transcript
 4    from the record of proceedings in the above-entitled matter.
 5
 6
 7                X_______________/s/_______________________x
 8                           Jody A. Stewart
 9                     X______12-18-2018 ________x
10                                 Date
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